                        IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MISSOURI
                               SOUTHWESTERN DIVISION

JONATHAN KREEGER, and                         )
JESSICA KREEGER                               )
                                              )
       Plaintiffs,                            )
                                              )      Case No.
vs.                                           )
                                              )
RICHARD SLATER and,                           )      JURY TRIAL DEMANDED
ISD EXPRESS INC.,                             )
      Defendants.                             )

                                   NOTICE OF REMOVAL

       COME NOW Defendant Richard Slater, by and through his attorneys Roberts Perryman,

P.C., and hereby files his Notice of Removal stating the following:

                                       INTRODUCTION

       1.      A civil action has been commenced and is now pending in the Circuit Court of

Jasper County, State of Missouri, Case No. 22AO-CC00016, wherein Jonathan Kreeger is the

Plaintiff and Richard Slater and ISD Express, Inc. are the Defendants.

       2.      This action is a civil action wherein Plaintiff has made claims for damages as a

result of Defendants’ alleged negligence in connection with a tractor trailer motor vehicle accident

that occurred on June 25, 2019.

       3.      Defendant Richard Slater was and is a citizen of Arizona.

       4.      Defendant, ISD Express, Inc. is a North Carolina corporation with its principal

place of business in North Carolina.

       5.      ISD Express Inc. has not been served with Plaintiff’s Petition but consents to this

removal.




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                              DIVERSITY OF CITIZENSHIP EXISTS

       6.         This action is a civil action, of which the United States District Courts have original

jurisdiction pursuant to 28 U.S.C. § 1332 and is one which may be removed to this Court by

Defendant pursuant to 28 U.S.C. § 1441, and this is a civil action proceeding involving diversity

of citizenship.

       7.         Plaintiff Jonathan Kreeger is a citizen of the State of Missouri.

       8.         Defendant, ISD Express Inc. is a corporation with its principal place of business in

North Carolina.

       9.         Defendant, Richard Slater, is a citizen of Arizona.

                  THE AMOUNT IN CONTROVERSY HAS BEEN SATISFIED

       10.        The amount in controversy exceeds $75,000.00 exclusive of interest and costs.

Plaintiff Jonathan Kreeger is claiming serious injuries to his left arm and right knee including

medical expenses of $62,000.00 to date, lost wages of $12,000.00, future knee replacement surgery

and future medical of $83,000.00, prescriptions/devices of $37,000.00, $1,000.00 miscellaneous

expenses and pain/suffering for total damages in excess of $194,000.00 from this accident.

Plaintiff Jessica Kreeger is also claiming a loss of consortium.

                               NOTICE OF REMOVAL IS TIMELY

       11.        Less than thirty (30) days have elapsed since receipt of said initial pleadings by

Defendant given it has waived service and consents to removal.

       12.        Defendant files herewith a copy of all process, pleadings, and order it has in this

action. See Exhibit A.

       WHEREFORE, Defendant, Richard Slater, by and through counsel, prays the Court to

accept his Notice for Removal, and made and enter such orders as may be necessary to affect the



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complete removal of this action from the Circuit Court of Jasper County, State of Missouri, to the

United States District Court for the Western District of Missouri, and that further proceedings be

discontinued in the State Court and all future proceedings be held in this Court, as the laws in such

case provide.


                                              Respectfully submitted,
                                              ROBERTS PERRYMAN, P.C.

                                              /s/ Ted L. Perryman
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                                 CERTIFICATE OF SERVICE

        The undersigned hereby certifies that the foregoing has been filed upon the Court’s
electronic filing system this 3rd day of March 2022 to:

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                                                      /s/ Ted L. Perryman
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